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                                     UNITED STATES BANKRUPTCY COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
                                                        Northern Division


In re: CHANNEL TECHNOLOGIES, LLC                                  §                 Case No. 16-11912
                                                                  §
                                                                  §
                         Debtor(s)                                §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 09/30/2022                                                            Petition Date: 10/14/2016



Plan Confirmed Date:03/02/2018                                                       Plan Effective Date: 04/02/2018


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Corporate Recovery Associates, LLC*
                                                                                  Name of Authorized Party or Entity




/s/ Felicita A. Torres                                                  Felicita A. Torres, Esq.
Signature of Responsible Party                                           Printed Name of Responsible Party
10/20/2022                                                              Griffith & Thornburgh, LLP
Date                                                                    8 E. Figueroa St. Ste 300
                                                                        Santa Barbara, CA 93101
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name CHANNEL TECHNOLOGIES, LLC                                                                   Case No. 16-11912


Part 1: Summary of Post-confirmation Transfers

                                                                                                                     Total Since
                                                                                             Current Quarter        Effective Date

 a. Total cash disbursements                                                                        $242,309              $10,419,348
 b. Non-cash securities transferred                                                                         $0                    $0
 c. Other non-cash property transferred                                                                     $0                    $0
 d. Total transferred (a+b+c)                                                                       $242,309              $10,419,348

Part 2: Preconfirmation Professional Fees and Expenses
                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                        $0       $60,923             $0        $60,923
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Winthrop Couchot Golubut           Special Counsel                     $0       $60,923             $0        $60,923
        ii
        iii
        iv
        v
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       ci


                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor             Aggregate Total
                                                                                       $0       $16,209             $0       $16,209
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i         Department of Justice            Other                                $0        $4,875             $0        $4,875
       ii        U.S. Treasury                    Other                                $0       $11,334             $0       $11,334
       iii
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            c
            ci
c.          All professional fees and expenses (debtor & committees)                        $0      $77,132           $0       $77,132

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                % Paid of
                                                  Payments          Paid Current                                            Allowed
                                                 Under Plan           Quarter           Paid Cumulative   Allowed Claims     Claims
 a. Administrative claims                                      $0              $0                    $0                $0         0%
 b. Secured claims                                             $0              $0                    $0                $0         0%
 c. Priority claims                                            $0              $0                    $0                $0         0%
 d. General unsecured claims                                   $0                  $0                $0                $0         0%
 e. Equity interests                                           $0              $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                           Yes    No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                 Yes    No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Richard Feferman, solely in his capacity as Senior                Richard Feferman, Corporate Recovery Assoc., LLC*
Signature of Responsible Party                                         Printed Name of Responsible Party
Managing Director/Principal of Liquidating Trustee*                    10/20/2022
Title                                                                  Date




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                                                 Other Page 1




                                             Page 2 Minus Tables




                                            Bankruptcy Table 1-50



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                                            Bankruptcy Table 51-100




                                            Non-Bankruptcy Table 1-50




                                           Non-Bankruptcy Table 51-100




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                     In re: Channel Technologies Group, LLC
     Attachment to UST Quarterly Report – quarter ending September 30, 2022

      Corporate Recovery Associates, LLC, the liquidating trustee (“Liquidating
Trustee”), was appointed under the confirmed Chapter 11 Liquidating Plan
(“Plan”) [Docket No. 426] of Debtor Channel Technologies Group, LLC
(“Debtor”) to serve as trustee of the liquidating trust (“Liquidating Trust”)
established under the Plan. The Liquidating Trust was organized and established
to liquidate the assets of the Debtor’s estate for the benefit of the holders of all
Allowed General Unsecured Claims against the Debtor. Pursuant to the terms of
the Plan, the assets of the Debtor’s estate, including but not limited to potential
causes of action held by the Debtor’s estate, were transferred to the Liquidating
Trust on the Effective Date.
      The Debtor has made all distributions with respect to allowed administrative
claims required by the Plan. The Plan is a “pot” plan and, accordingly, there is no
fixed payment to holders of Allowed General Unsecured Claims. Between 2018
and January 2022, the Liquidating Trustee was actively engaged in prosecuting
estate Litigation Claims to attempt to obtain recovery for the benefit of the
Debtor’s creditors. Throughout 2021, the last remaining Litigation Claim
continued to be litigated, and the claim was ultimately resolved and liquidated via
settlement. Now, the Liquidating Trustee is further investigating claims asserted
against the Debtor’s estate and will negotiate settlement with holders of disputed
claims and/or file additional objections to disputed claims, if appropriate.

     After over three years of litigation, and with the recent resolution of the final
Litigation Claim, all known assets of the Debtor have been liquidated. Based on the
successful resolution of the various Litigation Claims, the Liquidating Trustee
anticipates that there will be some distribution to the Debtor’s unsecured creditors.
                                          1
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     The Liquidating Trustee is in the midst of extensive evaluation and analysis,
on a per-claim basis, of remaining claims, and is in various stages of negotiation
with certain claimants. The Liquidating Trustee expects to continue this effort.
Given the complexity of the larger outstanding claims, this analysis will continue to
require dedication of significant time. Accordingly, the Liquidating Trustee is
unable at this time to predict either the timing or the ultimate recovery by creditors
in this case. However, the Liquidating Trustee will be prepared to promptly file a
motion for final decree after claims reconciliation is completed, and all claim
disputes are resolved.
       __________________________________________________________________



Continuation of signature block of Name of Authorized Party (first page of report):


* Corporate Recovery Associates, LLC, solely in its capacity as Liquidating
Trustee
Continuation of signature block for Printed Name of Responsible Party (last page
of report):
*    Richard Feferman, acting solely in his capacity as Senior Managing
Director/Principal of Liquidating Trustee; and Corporate Recovery Associates,
LLC, solely in its capacity as Liquidating Trustee.




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In re: Channel Technologies Group, LLC
United States Bankruptcy Court, Case No. 9:16-bk-11912-DS
                                         PROOF OF SERVICE OF DOCUMENT
   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
   8 E. Figueroa Street, Suite 300, Santa Barbara, CA 93101
   A true and correct copy of the foregoing document entitled (specify):
   Liquidating Trustee’s UST Quarterly Report (PCR) for quarter
   Ending Sept. 30, 2022 with attachment and proof of service

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
Oct. 20, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On (date) , 2021 , I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)      , 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Oct. 20, 2022                  Evelyn R. Downs                                                 /s/Evelyn R. Downs
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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NEF Service:

Peter J Benvenutti pbenvenutti@kellerbenvenutti.com, pjbenven74@yahoo.com
•Jonathan Boustani jboustani@btlaw.com
•John P Byrne John.Byrne@byrnelawcorp.com
•Cheryl S Chang Chang@Blankrome.com, Hno@BlankRome.com
•Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;odalys@lesliecohenlaw.com
•Brian L Davidoff bdavidoff@greenbergglusker.com, calendar@greenbergglusker.com;jking@greenbergglusker.com
•Daniel Denny ddenny@milbank.com
•Jeffrey W Dulberg jdulberg@pszjlaw.com
•Brian D Fittipaldi brian.fittipaldi@usdoj.gov
•Richard H Golubow rgolubow@wcghlaw.com,
pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
•Michael S Greger mgreger@allenmatkins.com, kpreston@allenmatkins.com
•William W Huckins whuckins@allenmatkins.com, clynch@allenmatkins.com
•Tobias S Keller tkeller@kellerbenvenutti.com
•Ian Landsberg ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com
•Elan S Levey elan.levey@usdoj.gov, louisa.lin@usdoj.gov
•Andrew B Levin alevin@wcghlaw.com, Meir@virtualparalegalservices.com;pj@wcghlaw.com;jmartinez@wcghlaw.com
•Stephen F Mcandrew steve@kmcllp.com, steve@mcandrewlaw.net
•David W. Meadows david@davidwmeadowslaw.com
•Samuel A Newman snewman@gibsondunn.com
•Victoria Newmark vnewmark@pszjlaw.com
•Reed H Olmstead reed@olmstead.law, olmstead.ecf@gmail.com;r41602@notify.bestcase.com
•Robert E Opera ropera@wcghlaw.com,
pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
•Christian A Orozco , thooker@lynnllp.com
•Christian A Orozco corozco@lynnllp.com, thooker@lynnllp.com
•Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
•Joseph M Sholder sholder@g-tlaw.com
•Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;laik@gtlaw.com
• United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov
•Alan J Watson alan.watson@hklaw.com, rosanna.perez@hklaw.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
